Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 1 of 22 Page ID #:935



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   14   Entropic Communications, LLC
   15                       UNITED STATES DISTRICT COURT
   16                     CENTRAL DISTRICT OF CALIFORNIA
   17   ENTROPIC COMMUNICATIONS,
        LLC,
   18                                                Case No.: 2:23-cv-01047-JWH-KES
                       Plaintiff,
   19                                                PLAINTIFF ENTROPIC
              v.                                     COMMUNICATIONS’
   20                                                OPPOSITION TO
        COX COMMUNICATIONS, INC., et                 DEFENDANTS’ RULE 12(c)
   21                                                MOTION TO DISMISS FOR
        al.,                                         INVALIDITY UNDER 35 U.S.C.
   22                                                § 101
                       Defendants.
   23                                                Hearing Date: July 21, 2023
                                                     Hearing Time: 9:00 a.m.
   24                                                Courtroom:    9D
                                                     Judge:        Hon. J. W. Holcomb
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             PLF’S OPP. TO DEF’S RULE 12(c) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 2 of 22 Page ID #:936



    1                                             TABLE OF CONTENTS
    2   I.        INTRODUCTION ............................................................................................ 1
    3   II.       THE LAW OF PATENT ELIGIBILITY ......................................................... 2
    4   III.      THE PATENTS AND THE INTRINSIC RECORD ....................................... 3
    5        A. The Problems Solved by the Inventions of the Patents .................................... 3
    6        B. The Patents and Claims .................................................................................... 6
    7          1. The Patents .................................................................................................... 6
    8          2. The Claims .................................................................................................... 6
    9          3. Intrinsic Record of the Patents ...................................................................... 8
   10        C. Claim Construction......................................................................................... 13
   11   IV.       THE ’213 AND ’422 PATENTS ARE VALID............................................. 14
   12        A. The Claimed Subject Matter is not Generic or Routine ................................. 14
   13        B. The Impact of Claim Construction on Patent Eligibility ............................... 15
   14   V. CONCLUSION .................................................................................................. 16
   15

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                                                    -ii-
                 PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 3 of 22 Page ID #:937



    1                                         TABLE OF AUTHORITIES
    2
                                                                                                                       Page(s)
    3
        Cases
    4
        Aatrix Software, Inc. v. Green Shades Software, Inc.,
    5
           882 F.3d 1121 (Fed. Cir. 2018) ................................................................ 3, 15, 16
    6
        AIP Acquisition LLC v. Cisco Systems, Inc.,
    7      714 Fed. Appx. 1010 (Fed. Cir. 2017) ............................................................... 14
    8
        Bancorp Services, L.L.C. v. Sun Life Assur. Co. of Canada (U.S.),
    9     687 F.3d 1266 (Fed. Cir. 2012) ............................................................................ 2
   10   Berkheimer v. HP Inc.,
   11      881 F.3d 1360 (Fed. Cir. 2018) ............................................................................ 3
   12   Entropic Communications, LLC v. DISH Network Corp.,
           2:23-cv-01043, Order (C.D. Cal. June 6, 2023) [ECF No. 66] ................... passim
   13

   14   Illumina, Inc. v. Ariosa Diagnostics, Inc.,
            967 F.3d 1319 (Fed. Cir. 2020) ............................................................................ 2
   15
        McRO, Inc. v. Bandai Namco Games Am. Inc.,
   16
          837 F.3d 1299 (Fed. Cir. 2016) ............................................................................ 2
   17
        Virtual Immersion Technologies LLC v. Safran S.A.,
   18      22-cv-1248, Order (C.D. Cal. June 5, 2023) ................................................ 15, 16
   19
        Weisner v. Google LLC,
   20     51 F.4th 1073 (Fed. Cir. 2022) ................................................................... 2, 3, 15
   21   Wonderland Nurserygoods Co., Ltd. v. Baby Trend, Inc.,
   22     5:14-cv-01153, 2020 WL 13680678 (C.D. Cal. Dec. 30, 2020)
          (Holcomb, J.) ........................................................................................................ 3
   23

   24
        Statutes

   25   35 U.S.C. § 101............................................................................................ 1, 2, 3, 13
   26   Other Authorities
   27
        Federal Rule of Civil Procedure 12(c)....................................................................... 1
   28

                                                  -iii-
               PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 4 of 22 Page ID #:938



    1   Federal Rule of Civil Procedure 12(b)(6) ............................................................ 3, 13
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              PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 5 of 22 Page ID #:939



    1   I.    INTRODUCTION
    2         Defendants (collectively “Cox”) have moved for judgement on the pleadings
    3   pursuant to Federal Rule of Civil Procedure 12(c) for Invalidity of U.S. Patent Nos.
    4   9,838,213 (“the ’213 Patent”) and 10,432,422 (“the ’422 Patent”) (collectively “the
    5   Patents”) —based upon purported patent ineligibility under 35 U.S.C. § 101. Far
    6   from representing mere sending and receiving of messages, as Cox represents, these
    7   patents claim concrete technological solutions to a very significant problem, i.e., a
    8   Layer 2 peer entity administering and controlling quality of service (“QoS”) for data
    9   flows, using a highly specific messaging protocol.
   10         The claims of the Patents require aspects of the disclosed specific messages
   11   and protocols of this architecture, between nodes of the network to manage and
   12   provide quality of service (“QoS”) communication flows. For example, the protocols
   13   claimed by the ’213 Patent involve a Network Coordinator node handling
   14   communication concerning QoS requirements and capabilities among its peer nodes,
   15   where certain actions are taken if requested flows are not available. ’213 Patent, claim
   16   1. The continuation (the ’422 Patent) claims, in the context of the same architecture,
   17   particular messages with particular contents, used to establish/manage QoS flows.
   18   The establishment and management of QoS for flows among network nodes with
   19   particular messaging from the “Layer 2 messaging framework” is not at all generic.
   20   The very detailed and substantive file history of the Patents, focusing upon particular
   21   functional limitations, is clear evidence of the same. The claims resulted from 11
   22   Office Actions, 4 Requests for Continued Examination, an appeal to the Board
   23   supporting the Examiner, and finally specific claim amendments the Examiner
   24   accepted as novel and non-obvious.
   25         Cox’s disingenuous characterization of the Patents as generically sending and
   26   receiving messages withstands no scrutiny, and indeed gets worse the more scrutiny
   27   is applied. The motion should be denied.
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               PLF’S OPP. TO DEF’S RULE 12(C) MOTION TO DISMISS UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 6 of 22 Page ID #:940



    1   II.    THE LAW OF PATENT ELIGIBILITY
    2          While Cox accurately describes the Alice steps one and two analyses for
    3   Section 101 patent eligibility, it omits certain key legal precepts regarding patent
    4   eligibility. See ECF No. 64-1 at 8-11. First, Cox has the burden of proof in
    5   challenging claims as patent ineligible. Illumina, Inc. v. Ariosa Diagnostics, Inc.,
    6   967 F.3d 1319, 1328 (Fed. Cir. 2020). In other words, it is not up to Entropic to
    7   prove that a claim is patentable.
    8          Secondly, the Federal Circuit has cautioned against oversimplifying a patent’s
    9   claims when conducting a Section 101 analysis. See McRO, Inc. v. Bandai Namco
   10   Games Am. Inc., 837 F.3d 1299, 1313 (Fed. Cir. 2016) (“We have previously
   11   cautioned that courts must be careful to avoid oversimplifying the claims by looking
   12   at them generally and failing to account for the specific requirements of the claims.”
   13   (internal quotation marks omitted)). In that regard, a court may consult a patent’s
   14   specification to determine whether the claims challenged under Section 101 include
   15   an inventive concept that suffices to defeat such a challenge. See Weisner v. Google
   16   LLC, 51 F.4th 1073, 1087 (Fed. Cir. 2022).
   17          Thirdly, it is “ordinarily [ ] desirable—and often necessary—to resolve claim
   18   construction disputes prior to a Section 101 analysis, for the determination of patent
   19   eligibility requires a full understanding of the basic character of the claimed subject
   20   matter.” Bancorp Services, L.L.C. v. Sun Life Assur. Co. of Canada (U.S.), 687 F.3d
   21   1266, 1273-74 (Fed. Cir. 2012). This Court has summarized the law regarding the
   22   claim construction task, in relevant part, as follows:
   23          Claim terms ‘are generally given their ordinary and customary
   24          meaning,’ which is ‘the meaning that the term would have to a person
   25          of ordinary skill in the art.’ The terms must be read in the context of the
   26          entire patent, however. In interpreting a claim, the Court must focus
   27          primarily on the intrinsic evidence of record, including the claims
   28          themselves, the specification, and, if in evidence, the prosecution
                                                  2
              PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 7 of 22 Page ID #:941



    1           history.
    2           Among the intrinsic evidence, the ‘specification is always highly
    3           relevant to the claim construction analysis. Usually, it is dispositive; it
    4           is the single best guide to the meaning of a disputed term.’ ‘The
    5           specification is, thus, the primary basis for construing the claims.’ It is
    6           ‘entirely appropriate for a court, when conducting claim construction, to
    7           rely heavily on the written description for guidance as to the meaning of
    8           the claims.’
    9   Wonderland Nurserygoods Co., Ltd. v. Baby Trend, Inc., 5:14-cv-01153, 2020 WL
   10   13680678 at *3 (C.D. Cal. Dec. 30, 2020) (Holcomb, J.) (internal citations omitted).
   11           In the context of a Rule 12(b)(6) (or 12(c)) patent eligibility challenge under
   12   Section 101, a court should consult the specification, which it “must accept as true at
   13   the pleadings stage.” Weisner, 51 F.4th at 1088. At the pleading stage, the Court
   14   must also accept as true any construction proposed by the non-movant plaintiff. See
   15   Entropic Communications, LLC v. DISH Network Corp., 2:23-cv-01043, Order,
   16   (C.D. Cal. June 6, 2023) [ECF No. 66] at 2, citing Nat. Alternatives Int’l, Inc. v.
   17   Creative Compounds, LLC, 918 F.3d 1338, 1343 (Fed. Cir. 2019).
   18           Finally, although patent eligibility is a matter of law, it “may contain disputes
   19   over underlying facts.” Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018).
   20   “Whether the claim elements or the claimed combination are well-understood,
   21   routine, [or] conventional is a question of fact.” Aatrix Software, Inc. v. Green Shades
   22   Software, Inc., 882 F.3d 1121, 1128 (Fed. Cir. 2018). As highlighted herein, each of
   23   these legal precepts weighs against granting the instant motion.
   24   III.    THE PATENTS AND THE INTRINSIC RECORD
   25           A.    The Problems Solved by the Inventions of the Patents
   26           Prior art systems of course addressed quality of service (“QoS”) issues. But
   27   they did not do so in the context of the type of “full mesh network architecture” that
   28   gave birth to the Patents. ’213 Patent, col. 1, lines 55-63. Work on this architecture
                                                   3
               PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 8 of 22 Page ID #:942



    1   revealed problems (and also inventive opportunities) compared to prior art
    2   approaches employed in more rigid architectures. In the prior art:
    3                 Various solutions to solve this problem have been
    4                 proposed, usually involving a high-level network
    5                 coordinator or having high-level applications, setting
    6                 priority to data packets or data streams within the network.
    7   Id., col. 2, lines 4-7. Thus the first issue of note is the “high-level” at which prior art
    8   solutions work. This refers to the ubiquitous OSI model of communication, which
    9   views the protocols as a stack of seven interacting layers from applications at the top
   10   down to the physical layer. The Patent also observes that these high-level solutions
   11   to managing QoS had detrimental aspects:
   12                 Moreover, intelligent network devices require high
   13                 computational power and are consequently more
   14                 expensive than they need to be. Finally, complex network
   15                 devices are impractical for home use, as most consumers
   16                 do not have the sophistication or experience to configure
   17                 a computer network.
   18   Id., col. 2, lines 7-12. The Patent thus observes that prior solutions to QoS issues at
   19   high-levels of the protocol (where consumers might interact) introduced undesirable
   20   complexity for unsophisticated home users and impose higher costs in terms of
   21   computational power. Id., col. 2, lines 4-12. In contrast the Patents disclose, inter
   22   alia, a solution that:
   23                 resolve[s] configuration and cost issues through the
   24                 implementation of a low-level digital transport framework
   25                 that does not require high amounts of computing power.
   26                 This low-level framework may be thought of as an
   27                 extension to the Media Access Control (MAC) sub-layer
   28                 or the physical (PHY) network layer and is referred to as
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             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 9 of 22 Page ID #:943



    1                 a “Layer 2 messaging framework.”
    2   Id., col. 3, lines 58-65. Instead of QoS communication management sitting at high
    3   layers of the communication stack (for example layer 4 or 5 or above), the Patent
    4   implements an architecture to handle it all down at layer 2. Each layer of the OSI
    5   stack resides in a different environment with different responsibilities. Accordingly
    6   the function and operation of each layer has its own complexities. The physical layer
    7   transporting the bits is very different in design, form and function that the application
    8   layer on top (where a web browser resides, for example). By placing management
    9   of QoS flows at Layer 2, the inventors needed to create particular management steps
   10   and corresponding messaging that works in the environment and requirements of
   11   Layer 2. The Patent devotes well over 30 columns of detailed description to
   12   disclosing such protocols and messages in great detail. See e.g., id., col. 4, line 59—
   13   col. 38, line 53.
   14          As illustrated in the robust prosecution described below, much of the 30
   15   columns of detailed, specific messaging architecture ended up in the claims at issue
   16   here. That is, the claims of the Patents require aspects of the disclosed specific
   17   messages and protocols of this framework, between nodes of the network to manage
   18   and provide quality of service (“QoS”) communication flows. For example, the
   19   protocols claimed by the ’213 Patent involves a Network Coordinator node handling
   20   communication of QoS requirements and capabilities among nodes at Layer 2, where
   21   certain actions are taken if requested flows are not available—a maximum data rate
   22   that would have been possible is transmitted. ’213 Patent, claim 1. The continuation
   23   (the ’422 Patent) claims, in the context of the same architecture, particular messages
   24   with particular contents, used to establish/manage QoS flows. The specific
   25   establishment and management of QoS for flows among network nodes with
   26   particular messaging and protocol steps in the “Layer 2 messaging framework”
   27   recited in the claims is not at all generic.
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             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 10 of 22 Page ID #:944



    1         B.     The Patents and Claims
    2                1.     The Patents
    3         The ’213 and ’422 Patents are related, and share a single specification. The
    4   ’422 Patent is a continuation of the ’213 Patent. The application that ultimately issued
    5   as the ’213 Patent was filed on February 6, 2008, claiming priority to seven
    6   provisional applications, the earliest filed on February 6, 2007. After ten years of
    7   detailed prosecution, the ’213 Patent issued on December 5, 2017. Undoubtedly
    8   benefitting from the lengthy prosecution history of its parent, the application that
    9   ultimately issued as the ’422 Patent was filed on December 5, 2017 and issued less
   10   than two years later.
   11                2.     The Claims
   12         The following table shows representative claim 1 from each of the Patents:
   13

   14              ’213 Patent Claim 1                        ’422 Patent Claim 1
   15    A communication method implemented A communication network comprising:
   16   in a Network Coordinator (NC) node of        a requesting node;
   17   a communication network of a
   18   premises, the method comprising:             a Network Coordinator (NC) node; and
   19

   20    broadcasting to a plurality of nodes of     a plurality of requested nodes, wherein:
   21   the network, a request for a guaranteed      the requesting node is operable to, at
   22   quality of service flow in the network       least, communicate a first message to
   23   from a source node to at least one           the NC node requesting a list
   24   egress node, the plurality of nodes of       comprising parameterized quality of
   25   the network to which the NC node             service (PQoS) flows of the
   26   broadcasts the request including at least communication network; and
   27   the source node and the at least one
   28   egress node;                                 the NC node is operable to, at least:
                                                 6
             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 11 of 22 Page ID #:945



    1
                  ’213 Patent Claim 1                           ’422 Patent Claim 1
    2
         receiving a first response to the request   receive the first message from the
    3
        from the source node, wherein the            requesting node; and
    4
        source node is the point of origin for
    5
        the purposes of the guaranteed quality       in response to the received first
    6
        of service flow for data to be               message:
    7
        communicated within the guaranteed
    8
        quality of service flow, the first           communicate a second message to each
    9
        response indicating whether the source       requested node of the plurality of
   10
        node has available resources to support      requested nodes, the second message
   11
        the guaranteed quality of service flow;      requesting from said each requested
   12
                                                     node a list identifying PQoS flows for
   13
         receiving a second response to the          which said each requested node is an
   14
        request from the at least one egress         ingress node;
   15
        node indicating whether the at least one
   16
        egress node has available resources to       receive, from said each requested node
   17
        support the guaranteed quality of            a respective third message comprising a
   18
        service flow; and                            list identifying PQoS flows for which
   19
         if the source node and the at least one     said each requested node is an ingress
   20
        egress node have available resources to      node;
   21
        support the guaranteed quality of            form an aggregated list of PQoS flows
   22
        service flow, then allocating resources      comprising each respective list
   23
        for the guaranteed quality of service        identifying PQoS flows from each
   24
        flow;                                        received third message; and
   25

   26
         if the source node and the at least one     communicate a fourth message to at
   27
        egress node do not have available            least the requesting node comprising
   28
                                                 7
             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 12 of 22 Page ID #:946



    1
                  ’213 Patent Claim 1                          ’422 Patent Claim 1
    2
        resources to support the guaranteed          the aggregated list,
    3
        quality of service flow, then:               wherein the second message specifies a
    4
         denying the guaranteed quality of           range of PQoS flows being queried.
    5
        service flow; and
    6

    7
         if the guaranteed quality of service flow
    8
         is denied based on bandwidth-related
    9
         reasons, then determining a maximum
   10
         data rate that would have resulted in a
   11
         successful request for a guaranteed
   12
         quality of service flow, and transmitting
   13
         a message comprising information
   14
         describing the maximum data rate that
   15
         would have resulted in a successful
   16
         request for a guaranteed quality of
   17
         service flow.
   18

   19
                     3.     Intrinsic Record of the Patents
   20
              To evaluate the claims in their proper context, the full intrinsic record of the
   21
        Patents must be examined.
   22
                            a.    The Patent Specification
   23
              As already noted, the Patents (which share a common specification) eschew
   24
        high-level control and management over QoS flows. Instead, the patent presents a
   25
        new protocol and messaging architecture for QoS management carried out by Layer 2
   26
        messaging. ’213 Patent, col. 3, lines 48-65. The patents introduce a new “Layer 2
   27
        messaging framework.” Id., col. 3, line 65. This framework is applied to the various
   28
                                                 8
             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 13 of 22 Page ID #:947



    1   nodes of the Network. Figure 1, for example, illustrates the layer 1 (PHY) and layer
    2   2 (MAC) functionality of a NC Node, in the context of a MoCA network. Also shown
    3   are the new portions of QoS management framework inside a “Layer 2 Management
    4   Entity (L2ME),” (col 4, line 22) where the “L2ME 116 is responsible for executing
    5   and managing all L2ME transactions, such as parameterized Quality of Service,
    6   between network nodes …” Id., col. 4, lines 44-47.
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              Typically this functionality sits in a particular one of the interacting nodes of
   21
        the network, which is designated as the NC or “Network Coordinator.” Id., col. 4,
   22
        lines 2-5. The L2ME protocol “enables NC node 106 to manage the flow of low-cost
   23
        audio/video bridging devices … across a home network with multiple Layer 2
   24
        Quality of Service segments.” Id., col. 4, lines 53-57, see also Fig. 1 depicting the
   25
        functionality in the NC node. The Patent then devotes a great deal of description to
   26
        laying out details of, for example, the “L2ME Wave Protocol” (col. 4, line 58 - col.
   27
        6, line 30), the L2ME Transaction Protocol including submission, request and
   28
                                                 9
             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 14 of 22 Page ID #:948



    1   response messages (col. 6, line 32-col. 13, line 15) and providing deep overview of
    2   the “L2ME Transaction[s]” (col. 13, line 17-col. 15, line 35). All of this description
    3   provides deep detail on the Layer 2 messaging and management architecture.
    4          As an example, for parameterized QoS (or PQoS) flows the NC node sits as
    5   the coordinator of messaging traffic—all at layer 2—that manages and guarantees a
    6   predetermined data rate flow from an ingress node to an egress node. Id., col. 16,
    7   lines 2-4. Figure 7 illustrates:
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   19   Id., col. 23, lines 11-16.

   20          Based on the dynamic nature of the PQoS flows, the invention of the ’213

   21   Patent enables any network node to retrieve a list of PQoS flows in the network. Id.,

   22   col. 32, line 54-col. 33, line 36. The NC transmits a request message to the other

   23   nodes, which informs the range of PQoS flows that are being queried. Id. at col. 33,

   24   lines 27-31. Each node provides a response that contains a list of the PQoS flows. Id.

   25   at col. 33, lines 31-44. The NC then informs the entry node of the aggregated list of

   26   PQoS from the first wave. Id. at col. 34, lines 12-21. Finally, the NC notifies the

   27   entry node about the results of the transaction. Id.

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                                                 10
             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 15 of 22 Page ID #:949



    1         Again, this series of transactions occurs at the interface of Layer 2 of the
    2   network, as opposed to prior art solutions at “high-levels.” ’213 Patent, col. 2, lines
    3   5-6. These transactions must work with and fit within the specific functionality and
    4   capabilities of the MAC layer. By implementing this architecture, the inventors
    5   provided a solution that consumed less computational power and was usable by
    6   ordinary consumers, not just IT professionals. Id., col. 3, lines 48-65.
    7                       b.    The Prosecution History
    8         The claims of the ’213 and ’422 Patents are the result of an intensive and
    9   rigorous scrutiny of the inventions by the USPTO. The prosecution history of the first
   10   patent in the family—the ’213—spans:
   11             • nine Office Actions engendering claim amendments and/or substantive
   12                arguments,
   13             • four Requests for Continued Examination,
   14             • one appeal to the Patent Trial and Appeal Board, confirming the
   15                Examiner,
   16             • after appeal two Applicant Remarks/Amendments and one Office
   17                Action (all post-Alice), resulting in the Examiner granting a Notice of
   18                Allowance.
   19   The continuation application that resulted in the ’422 Patent followed. Having
   20   already blazed the trail with the parent prosecution, there was a single Office Action
   21   where the Examiner allowed certain dependent claims if rewritten in independent
   22   form, representing specific advances over the prior art, narrowly tailored to achieve
   23   a quality of service through implementation in the physical layer of a network.
   24          During prosecution of the parent ’213 Patent, the examiner cited prior art
   25   references allegedly disclosing broadcasting a request for guaranteed quality of
   26   service flow from a network coordinator to a plurality of nodes in a network
   27   containing at least one source node and one egress node, receiving responses from
   28   nodes indicating whether there are resources available to handle the request, and
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             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 16 of 22 Page ID #:950



    1   allocating those available resources to ensure the quality of service flow requested.
    2   See, e.g., U.S. Appl. Ser. No. 12/027,202, Office Action (Dec. 15, 2011) [Ex. A] at
    3   4-5. The claims were ultimately allowed after the applicant further narrowed the
    4   claims to include the limitation of “if the guaranteed quality of service flow is denied
    5   based on bandwidth-related reasons, then determining a maximum data rate that
    6   would have resulted in a successful request for a guaranteed quality of service flow,
    7   and transmitting a message comprising information describing the maximum data
    8   rate that would have resulted in a successful request for a guaranteed quality of
    9   service.” U.S. Appl. Ser. No. 12/027,202, Response to Non-Final Office Action (May
   10   3, 2017) [Ex. B] at 2. This resulted in the following portion of the Notice of
   11   Allowance:
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   25   U.S. Appl. Ser. No. 12/027,202, Notice of Allowance (July 28, 2017) [Ex. C] at 2-3.
   26         After the ’213 Patent ran the gauntlet of prosecution, the continuation leading
   27   to the ’422 Patent was filed and evaluated by the same Examiner. Unsurprisingly
   28   given the content of the prior art was now well-known to both sides, it took only a
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             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 17 of 22 Page ID #:951



    1   single Office Action to produce the issued claims. The Examiner in that Action
    2   indicated that the dependent claim (and thus the claims dependent therefrom) would
    3   be allowable over the prior art “if rewritten in independent form including all of the
    4   limitations of the base claim and any intervening claims.” U.S. Patent Appl. Ser. No.
    5   15/832,390, Non-Final Office Action (March 7, 2019) [Ex. D] at 9. The Applicant
    6   elected to simply allow those claims to issue and pursue continuation prosecution.
    7   The resulting amendments resulted in the Notice of Allowance:
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   12   U.S. Patent Appl. Ser. No. 15/832,390, Notice of Allowance (May 24, 2019) [Ex. E]
   13   at 7.
   14            Thus, in order to obtain patent claims, the inventors had to recite very specific
   15   technical requirements of the messaging architecture of managing QoS flows.
   16   Simply, the claims may have begun as relatively generic, but, after the Examiner
   17   made things very difficult, the specific message architecture recited by resulting
   18   claims was anything but generic.
   19            C.    Claim Construction
   20            As this Court noted in a co-pending case also involving patents directed to
   21   various aspects of MoCA, including the Patents, “in view of the presumption of
   22   validity and the clear-and-convincing-evidence standard applicable to validity
   23   challenges, the Court concludes it would benefit from considering Entropic’s
   24   proposed constructions before reaching a Rule 12(b)(6) determination on § 101
   25   eligibility.” Entropic Communications, LLC v. DISH Network Corp., 2:23-cv-01043,
   26   Order, (C.D. Cal. June 6, 2023) [ECF No. 66] at 2. The Court also clarified that it
   27   would take such proposed constructions as true in a Rule 12 context. See id. Entropic
   28   maintains that the same logic pertains here.
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                PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 18 of 22 Page ID #:952



    1          Here, Entropic proposes that the limitation Network Coordinator (NC), as
    2   recited in claim 1 of the ’213 and ’422 Patents, be construed to mean “a node that
    3   manages and coordinates QoS of service flows by layer 2 messages among peer
    4   nodes of the flows.” Starting from first principles, the fact that the Network
    5   Coordinator is capitalized suggests that the inventors defined the term. See, e.g., AIP
    6   Acquisition LLC v. Cisco Systems, Inc., 714 Fed. Appx. 1010, 1014 (Fed. Cir. 2017)
    7   (use of a capital letter indicates that the inventor has specifically defined the term and
    8   has acted as their own lexicographer for claim construction purposes). The
    9   specification confirms that the Network Coordinator is a defined term. First, the
   10   patent makes clear that the claimed invention arose out of a recognition of the
   11   disadvantages associated with management of QoS flows at higher layers in the OSI
   12   stack. But, rather than just articulating what was wrong with the higher layer
   13   approach, the inventors introduced the “Layer 2 messaging framework” of the
   14   invention, (col. 3, lines 48-65), followed by 30+ columns of detailed description of
   15   the layer 2 protocols and messages. Id., col. 4 – col. 38. A description of a specific
   16   advance of an invention over the art can and often does supply a definition for a claim
   17   element such as Network Coordinator.
   18          Second, as illustrated in Figures 1 and 5, for example, the Network Coordinator
   19   is “role” among the peer nodes of the network, and that role is “dynamically
   20   assign[ed].” to the role. Id., col. 1, lines 57-59. Thus the NC is not a different or
   21   unique device—it is just one of the peer nodes, which participates in the network
   22   itself, that has been assigned the role of Coordinator. Entropic’s construction flows
   23   from how the patentee defined the capitalized term Network Coordinator, and should
   24   be utilized by the Court for purposes of addressing the present Rule 12 motion.
   25   IV.    THE ’213 AND ’422 PATENTS ARE VALID
   26          A.    The Claimed Subject Matter is not Generic or Routine
   27          The claimed QoS management architecture was not “routine.” Over the course
   28   of 10 Office Actions and an appeal, the Examiner confronted the inventors with 8
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              PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 19 of 22 Page ID #:953



    1   QoS prior art references. After much back-and-forth, the inventors claimed a highly
    2   particularized architecture demanded by an exacting Examiner. This specific
    3   messages architecture, which takes up element after element in the ’213 and ’422
    4   Patent claims, is the opposite of abstract. The claimed architecture is narrow and
    5   specific. Particular technical limitations prompted the Examiner to allow the claims
    6   of each Patent, as detailed supra at III.B.3. The Court should stop there.
    7         B.     The Impact of Claim Construction on Patent Eligibility
    8         However, if the Court is inclined to go further, as noted by the Federal Circuit
    9   in Virtual Immersion Technologies LLC v. Safran S.A., a factual issue relevant to
   10   addressing Alice step one is “[w]hether something is well understood, routine, and
   11   conventional to a skilled artisan at the time of the patent.” Virtual Immersion
   12   Technologies LLC v. Safran S.A., 22-cv-1248, Order (C.D. Cal. June 5, 2023)
   13   (“Virtual Immersion Technologies”) at 7, quoting Berkheimer v. HP Inc., 881 F.3d
   14   1360, 1368 (Fed. Cir. 2018). Here, claims of the Patents1 require that this specific
   15   architecture be managed and coordinated by a node—the Network Coordinator—at
   16   Layer 2. The specification accurately reflects that this was an unconventional
   17   advance over the art. See Weisner, 51 F.4th at 1088 (the specification “must [be]
   18   accept[ed] as true at the pleadings stage.”). This is inventive over the prior art, which
   19   saw network coordination in general performed at a higher level, with all of the
   20   attendant disadvantages of such coordination, as discussed previously. The use of an
   21   NC at the interface of Layers 1 and 2, and particularly to guarantee quality of service
   22   flows in the manner claimed, was not well understood, routine, or conventional,
   23   meaning that the claimed inventions are not abstract ideas under Alice step one for
   24   an additional reason. See Aatrix Software, 882 F.3d at 1128.
   25         The Court should find that both the ’213 and ’422 Patent claims are not
   26   abstract. Not only are the claims not abstract, they are also inventive, the inquiry for
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   28    All claims of the ’213 Patent contain an NC, and claims 1-4 and 6 of the ’422 Patent
        contain an NC.
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             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 20 of 22 Page ID #:954



    1   step 2 of Alice. As described above, the massive prosecution history of this patent
    2   family at a minimum creates an issue of fact as to whether the specific messaging
    3   architecture recited is inventive. See Aatrix Software, 882 F.3d at 1130. The inventors
    4   overcame a mountain of prior art to make that showing of inventiveness. Moreover,
    5   this Court has recognized that inventions improving upon a physical instrumentality,
    6   e.g., computers, pass muster under that step. Virtual Immersion Technologies at 8
    7   (citations omitted). Here, implementing the NC at Layer 2 as opposed to higher levels
    8   does improve the nodes, communication devices in the network. Those devices
    9   require less processing power and are operable by ordinary consumers. In light of
   10   these clear improvements, the claims of the Patents provide sufficient inventiveness
   11   to satisfy Alice step 2, assuming the Court undertakes that inquiry (which it need not).
   12   V.    CONCLUSION
   13         For the foregoing reasons, the instant motion should be denied in its entirety.
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             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 21 of 22 Page ID #:955



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            PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
Case 2:23-cv-01047-JWH-KES Document 66 Filed 06/30/23 Page 22 of 22 Page ID #:956



    1                           CERTIFICATE OF COMPLIANCE
    2         The undersigned, counsel of record for Plaintiff Entropic Communications,
    3   LLC, certifies that this brief contains 4,238 words, which complies with the word
    4   limit of L.R. 11-6.1.
    5
                                              /s/ Christina Goodrich
    6                                            Christina Goodrich
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             PLF’S OPP. TO DEF’S RULE 12(C) MOTION FOR INVALIDITY UNDER 35 U.S.C. § 101
